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 9
      Attorneys for Petitioner
10
11                  IN THE UNITED STATES DISTRICT COURT
                  FOR THE SOUTHERN DISTRICT OF CALIFORNIA
12
13
       ABANTE ROOTER AND                             Case No. '20CV0754 JAH BLM
14     PLUMBING, INC., a California
       corporation, individually and on behalf
15     of all others similarly situated,             PETITIONER’S MOTION TO
                                                     COMPEL COMPLIANCE WITH
16                        Petitioner,                SUBPOENAS AND FOR ORDER
                                                     TO SHOW CAUSE AS TO WHY
17     v.                                            TRIUMPH MERCHANT
                                                     SOLUTIONS, LLC SHOULD
18     TRIUMPH MERCHANT                              NOT BE HELD IN CONTEMPT
       SOLUTIONS, LLC, a California
19     limited liability company,                    Location: TBD
                                                     Date: TBD
20                        Respondent.                Time: TBD
                                                     Judge: TBD
21
22    TO ALL PARTIES AND THEIR ATTORNEYS OF RECORD:
23          PLEASE TAKE NOTICE that at a date and time to be set by the above-
24    entitled Court located at 221 West Broadway, San Diego, CA 92101, Petitioner
25    Abante Rooter and Plumbing, Inc. (“Abante”) will appear and move this Court for
26    an order requiring Triumph Merchant Solutions, LLC (“Triumph”) to comply with
27
28    PETITIONER’S MOTION TO COMPEL              1
      COMPLIANCE WITH SUBPOENAS
     Case 3:20-cv-00754-JAH-BLM Document 1 Filed 04/21/20 PageID.2 Page 2 of 2




 1    the subpoenas served on February 13, 2020, and for an order requiring Triumph to
 2    show cause as to why it should not be held in contempt.
 3          This Motion is based on this Notice of Motion, the accompanying
 4    Memorandum in support of this Motion, the Declaration of Taylor T. Smith, the
 5    accompanying exhibits, and such other evidence that may be submitted at the
 6    hearing of this motion.
 7          The undersigned further certifies that compliance with Local Rule 26.1 is not
 8    feasible because Triumph has refused to respond to counsel’s repeated
 9    communication attempts.
10                                          Respectfully submitted,

11    Dated: April 21, 2020                 ABANTE ROOTER AND PLUMBING,
12                                          INC., individually and on behalf of all others
                                            similarly situated,
13
14                                          By: /s/ Aaron D. Aftergood
                                                  One of Petitioner’s Attorneys
15
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26
27
28    PETITIONER’S MOTION TO COMPEL            2
      COMPLIANCE WITH SUBPOENAS
